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                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                           W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                      5: 2 0 - C R-5 0 1 2 2
                Pl ai ntiff                                                       N O TI C E O F A P P E A L R E M A GI S T R A T E
                        v.                                                        M A GI S T R A T E D U F F Y’ S D E NI A L
                                                                                  O F D E F E N D A N T ’S M O TI O N T O C O M P E L
KI M B E R L E E PI T A W A N A K W A T                                           D O C K E T N O.’s 2 5 1 A N D 2 4 7 T O DI S T RI C T
                D ef e n d a nt                                                   C O U R T J U D G E PI E R S O L




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e L a wr e n c e L. Pi ers ol
U nit e d St at es Distri ct J u d g e
R m 2 0 2 U nit e d St at es C o urt h o us e
4 0 0 S. P hilli ps A v e n u e
Si o u x F alls, S D 5 7 1 0 4

R e : D ef e n d a nt A p p e als M a gistr at e D uff y’s Or d er D e n yi n g D ef e n d a nt’s M oti o n s t o C o m p el f or t h e
f oll o wi n g r e as o ns:

G R O U N DS F O R APP E A L

     1.    M a gistr at e D uff y a ct e d Ultr a Vir es i n h er Or d er 2 5 1. M a gistr at e D uff y’s a ut h orit y is li mit e d b y

           St at ut e, 2 8 U. S. C. § 6 3 6( b)( 1)( A) , w hi c h pr e cl u d es a M a gistr at e r uli n g u p o n a n a cti o n f or

           i nj u n cti v e r eli ef. I nj u n cti v e r eli ef i n v ol v es a C o urt usi n g t h e C o m p ulsi o n p o w er t o c o m p el a p art y

           t o d o, or n ot d o s o m et hi n g . A n i nj u n cti o n is t h e dir e ct ci vil e q ui v al e nt of a M oti o n t o C o m p el, t h e

           pl e a di n g at iss u e h er e , a n d is n ot wit hi n a M a gistr at e’s d el e g at e d a ut h orit y. M a gistr at e D uff y cit es

           D S D L R 5 7. 1 1 b ut n o l o c al c o urt r ul e c a n o v err ul e a st at ut or y li mit o n j uris di cti o n s u c h as 2 8

           U. S. C. § 6 3 6( b)( 1)( A) a n d a n y att e m pt t o d o s o is v oi d a b i niti o. M a gistr at e D uff y mist a k e nl y


                                                                   P a g e 1 of 1 0
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      c alls D ef e n d a nt’s M oti o n a “ Dis c o v er y ” m oti o n w h e n it is a M oti o n t o C o m p el Dis c o v er y . T h e

      dis c o v er y pr o c ess h as alr e a d y f ail e d i n t his c as e, w hi c h is w h y t h e D ef e n d a nt h as fil e d t w o

      s e p ar at e M oti o ns t o C o m p el Dis c o v er y si n c e t h e G o v er n m e nt h as t ol d n u m er o us dir e ct li es, wit h

      a p p ar e nt i m p u nit y. T h o m as E. H o ar, I n c. v. S ar a L e e C or p ., 9 0 0 F. 2d 5 2 2, 5 2 5 ( 2 d Cir. 1 9 9 0),

      d o es n ot a p pl y t o t his c as e b e c a us e it is a ci vil m att er a n d dis c uss es ci vil dis c o v er y dis p ut es a n d

      n ot a cri mi n al m att er, w h er e t h e p arti es h a v e m o v e d b e y o n d a dis p ut e, a n d t h e r e q u est is t o us e

      t h e c o m p ulsi o n p o w er of t h e C o urt t o c o m p el t h e pr o d u cti o n of t h e s p e nt b ull et f or t esti n g. I n

      H o ar, t h e c o urt c o n c e d es t h at t h e M a gistr at e is n ot e ntitl e d t o d e ci d e dis p ositi v e m oti o ns a n d i n

      t h at c as e t h e C o urt m a d e fi n di n gs a n d r e c o m m e n d ati o ns t o t h e Distri ct C o urt b e c a us e H o ar h a d

      f ail e d t o c o m pl y wit h his dis c o v er y o bli g ati o n a n d t h e C o urt’s or d ers t o C o m p el:

                 “ H o ar o bj e ct e d t o t h e m a gistr at e's r e p ort a n d r e c o m m e n d ati o n. It a p p e al e d t o t h e distri ct

                 c o urt. Aft er r e vi e wi n g H o ar's o bj e cti o ns, t h e distri ct c o urt, b y or d er d at e d A u g ust 2 9 ,

                 1 9 8 9, a gr e e d wit h t h e m a gistr at e's fi n di n g of n o n c o m pli a n c e. R e c alli n g t h at its pri or

                 or d er pr o vi d e d f or " a ut o m ati c affir m ati o n " of t h e m a gistr at e's or d er of N o v e m b er 2 9,

                 1 9 8 8, t h e c o urt i m p os e d t h e R ul e 3 7 s a n cti o ns s et f ort h i n t h at or d er. ”

      T h e M a gistr at e h a d n o a ut h orit y t o r ul e u p o n a dis p ositi v e M oti o n, s u c h as a M oti o n t o C o m p el

      Dis c o v er y a n d t h e D ef e n d a nt is e ntitl e d t o d e N o v o r e vi e w of b ot h M oti o ns t o C o m p el b y t h e

      Distri ct C o urt.

      T o t h e e xt e n d H o ar is a ut h orit y f or a n y pr o p ositi o n i n a cri mi n al c as e si n c e it is a ci vil c as e a n d

      d o es n ot d e al wit h f u n d a m e nt al i n di vi d u al ri g hts t h at a p pl y i n a cri mi n al c as e it is t h at at m ost t h e

      m a gistr at e c o ul d m a k e fi n di n gs a n d r e c o m m e n d ati o ns t o t h e Distri ct C o urt J u d g e a n d t h e

      D ef e n d a nt is e ntitl e d t o d e n o v o r e vi e w of all m att ers D ef e n d a nt o bj e cts t o:

                 “ Alt h o u g h a m a gistr at e m a y h e ar dis p ositi v e pr etri al m oti o ns, h e m a y o nl y s u b mit

                 pr o p os e d fi n di n gs of f a ct a n d r e c o m m e n d ati o ns f or dis p ositi o n of t h e m att er. T h e distri ct

                 c o urt m ust m a k e d e n o v o d et er mi n ati o ns as t o t h os e m att ers t o w hi c h t h e p art y h as

                 o bj e ct e d. S e c. 6 3 6( b)( 1)( B) -( C); F e d. R. Ci v. P. 7 2( b). T h e c o urt " m a y a c c e pt, r ej e ct, or

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                   m o dif y, i n w h ol e or i n p art, t h e fi n di n gs or r e c o m m e n d ati o ns m a d e b y t h e m a gistr at e. "

                   S e c. 6 3 6( b)( 1)( C); s e e als o F e d. R. Ci v. P. 7 2( b)...

   2.   M a gistr at e D uff y h as a cl e ar a ni m us a n d bi as a g ai nst t h e D ef e n d a nt, w hi c h will b e s u m m ari z e d

        b el o w . T his o v ert bi as is b as e d u p o n M a gistr at e D uff y’s c o v ert r a cist b e h a vi or t o w ar d t h e

        D ef e n d a nt a n d is n ot i n di c ati v e of a f air a n d n e utr al ar bit er of l e g al or f a ct u al dis p ut es, w hi c h is

        r e q uir e d of a f e d er al j u d g e. T his r a cist b e h a vi or o n t h e p art of M a gistr at e D uff y is e vi d e n c e d b y

        h er r uli n g a g ai nst D ef e n d a nt u p o n e v er y si n gl e iss u e t h at h as b e e n pr es e nt e d t o h er f or d e cisi o n,

        e v e n iss u es w h er e t h e Pr os e c uti o n h as a gr e e d wit h t h e D ef e n d a nt. T h es e r uli n gs ar e s u m m ari z e d

        b el o w a n d pr o vi d e pri m a f a ci e e vi d e n c e of bi as, dis cri mi n ati o n a n d r a cist d e cisi o n m a ki n g o n t h e

        p art of J u d g e D uff y:

                         a)    M a gistr at e J u d g e W oll m a n r e c us e d h ers elf b e c a us e of bi as. M a gistr at e D uff y still

                               r e q uir e d D ef e n d a nt t o tr a v el 2 5 0 0 mil es r o u n dtri p f or a 2 3 -mi n ut e h e ari n g.

                               M a gistr at e D uff y r e p e at e dl y pr e v e nt e d D ef e n d a nt fr o m a d dr essi n g t h e C o urt.

                         b)    D ef e n d a nt m a d e a n or al M oti o n f or E C F a c c ess at s ai d h e ari n g w hi c h w as

                               i m m e di at el y d e ni e d a n d M a gistr at e D uff y s ai d t o “fil e a m oti o n, ” e v e n t h o u g h

                               D ef e n d a nt h a d n o a c c ess t o t h e s yst e m t o fil e a M oti o n .

                         c)    M a gistr at e D uff y m ai nt ai n e d i n eff e cti v e c o u ns el Fr a n k Dris c oll as D ef e n d a nt’s

                               St a n d b y c o u ns el o v er D ef e n d a nt’s str e n u o us o bj e cti o n a n d e vi d e n c e t h at h e

                               dir e ctl y li e d t o t h e c o urt.

                         d)    M a gistr at e D uff y d e ni e d D ef e n d a nt’s M oti o n f or a tr a ns cri pt of t his h e ari n g

                               b e c a us e s h e w a nts t o a v oi d h er r e c or d of bi as e d d e cisi o n m a ki n g a n d

                               mistr e at m e nt of D ef e n d a nt b e c o mi n g k n o w n . T h e c o urt esti m at e f or t his

                               tr a ns cri pt w as $ 1 0 0 si n c e t h e D ef e n d a nt r e q u est e d it o n a n e x p e dit e d b asis.

                               A p p ar e ntl y t his D ef e n d a nt is n ot w ort h $ 1 0 0 of CJ A f u n di n g a c c or di n g t o J u d g e

                               D uff y.



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               e)   D ef e n d a nt fil e d t w o M oti o ns t o C o m p el i n t h e i nst a nt c as e, D o c k et N o.’s 2 4 0 a n d

                    2 4 7. I n D ef e n d a nt’s 2 4 0, M a gistr at e D uff y di d n ot e v e n all o w D ef e n d a nt t o r e pl y,

                    b ef or e s h e iss u e d h er bi as e d, l e g all y wr o n g , a n d f a ct u all y wr o n g r uli n g.

               f)   M a gistr at e D uff y ’s first h ast y d e ni al, D o c k et 2 4 3, m a k es a n u m b er of s eri o us

                    err ors. Firstl y, M a gistr at e D uff y bli n dl y a c c e pt e d t h e G o v er n m e nt ar g u m e nt t h at

                    all dis c o v er y iss u es h a v e alr e a d y b e e n liti g at e d w h e n Dis c o v er y is a c o nti n ui n g

                    o bli g ati o n a n d is n e v er r es ol v e d b y o n e r uli n g. M a gistr at e D uff y di d n ot k n o w

                    t h e r e c or d of t his c as e b e c a us e s h e w as n ot t h e M a gistr at e i n v ol v e d i n a n y of

                    t h es e pri or d e cisi o ns. T h e D ef e n d a nt h a d n e v er p ers o n all y r e q u est e d a c c ess t o t h e

                    dis c o v er y u ntil J u n e 5, 2 0 2 3, w hi c h w as s p e cifi c all y dis c uss e d i n D ef e n d a nt’s

                    M oti o n t o C o m p el, D o c k et N o. 2 4 0 at ¶ 2 1 a n d 2 2. M a gi str at e D uff y d eli b er at el y

                    i g n or e d D ef e n d a nt’s pl e a di n g a n d t h e l o n g hist or y of pr o bl e ms D ef e n d a nt h a d

                    wit h pri or c o u ns el, J o n at h a n P. M c C o y.

               g)   M a gistr at e D uff y a c c e pts t h at t h e l o c al r ul es all o w f or e x c e pti o ns t o L o c al R ul e

                    1 6. 1 B a n d t h e o nl y st at e d r e q uir e m e nt is t h e “ C o urt’s P er missi o n. ” T h e

                    D ef e n d a nt is pr es u m e d t o b e i n n o c e nt, t h er e ar e n o all e g ati o ns t h at D ef e n d a nt h as

                    b e e n i n v ol v e d i n wit n ess i nti mi d ati o n, or a n y ot h er a cti vit y t h at w o ul d pr e cl u d e

                    t his p er missi o n b ei n g gr a nt e d. D ef e n d a nt is i n c o m pli a n c e wit h h er t er ms of

                    pr etri al r el e as e a n d h as b e e n i n c o m pli a n c e f or al m ost t hr e e y e ars. T his k n e e j er k

                    d e ni al of D ef e n d a nt’s r e q u est f or dir e ct a c c ess t o Dis c o v er y vi ol at e d D ef e n d a nt’s

                    C o nstit uti o n al ri g hts t o a c c ess t o t h e e vi d e n c e, p arti c ul arl y n o w t h at D ef e n d a nt is

                    pr o s e.

               h)   D ef e n d a nt m a d e a pri m a f a ci e a n d u nr e b utt e d s h o wi n g t h at f or m er CI P u c k ett is

                    n o l o n g er a p oli c e offi c er a n d pr o vi d e d a d diti o n al i nf or m ati o n t h at h e w as l et g o

                    f or mis c o n d u ct. M a gistr at e D uff y i g n or es s u c h e vi d e n c e a n d i g n or es t h e r e p e at e d



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                    D P P A n otifi c ati o ns t h at D ef e n d a nt will r e c ei v e Br a d y dis cl os ur e, y et n e v er

                    r e q uir es t h at t h e G o v er n m e nt pr o vi d e s u c h dis cl os ur e i n a ti m el y m a n n er.

               i)   M a gistr at e D uff y i n c orr e ctl y i n di c at es t h at G e or g e D ull K nif e’s tr a ns cri pt is “ n ot

                    y et p u bli cl y a v ail a bl e ” b ut t h at i nf or m ati o n is dir e ctl y c o ntr ar y t o t h e

                    G o v er n m e nt’s o w n ass erti o ns a n d t h e p u bli c c o urt r e c or d. S e e D o c k et N o. 2 2 4:

                    “ R E S T RI C T E D T R A N S C RI P T of Pr o c e e di n gs as t o G e or g e D ull K nif e r e 1 5 8

                    C h a n g e of Pl e a H e ari n g. ” Cl e arl y t h e G o v er n m e nt a n d t h e C o urt ar e n ot willi n g

                    t o pr o vi d e Mr. D ull K nif e’s st at e m e nt i n cl e ar vi ol ati o n of R ul e 1 6 or t h e

                    G o v er n m e nt w a nts t o “r e d a ct ” s ai d tr a ns cri pt a n d r e m o v e a n yt hi n g h el pf ul t o t h e

                    D ef e n d a nt.

               j)   M a gistr at e D uff y u n c o n vi n ci n gl y tri es t o e x pl ai n h er h ast y r uli n g b ut t h e n

                    c o ntr a di cts h ers elf b y s a yi n g t h er e is “ pl e nt y of ti m e ” f or t h e G o v er n m e nt t o

                    dis cl os e t h at w hi c h it is r e q uir e d t o dis cl os e b y t h e C o nstit uti o n, t h e Bill of

                    Ri g hts, or b y ot h er r ul e or st at ut e .

               k)   T h er e ar e n u m er o us ot h er iss u es t h at M a gistr at e D uff y f ails t o r es ol v e or a d dr ess

                    i n h er h ast e t o r ul e a g ai nst t h e D ef e n d a nt. O n e e x a m pl e d o es st a n d o ut, h o w e v er.

                    At p a g e 3, M a gistr at e D uff y i n di c at es t h e f oll o wi n g: “ Fi n all y, t h e G o v er n m e nt

                    r e pr es e nts it h as i n its p oss essi o n n o p h ysi c al e vi d e n c e ot h er t h an t h e vi d e o

                    r e c or di n gs r ef er e n c e d a b o v e, w hi c h h a v e alr e a d y b e e n pr o vi d e d t o D ef e n d a nt. ”

                    T h at dir e ct li e s w all o w e d h o o k li n e a n d si n k er b y M a gistr at e D uff y b e c a m e

                    o b vi o us w h e n t h e G o v er n m e nt w as f or c e d t o a d mit it di d h a v e t h e bl o o dst ai n e d

                    b ull et, j ust as D ef e n d a nt a n d h er e x p ert, Mr. Ni x o n ass ert e d. Yet m or e e vi d e n c e

                    t h at M a gistr at e D uff y is c o m pl et el y bi as e d.

               l)   M a gistr at e D uff y iss u e d a n ot h er err or fill e d r a cist r uli n g o n D ef e n d a nt’s S e c o n d

                    M oti o n t o C o m p el, D o c k et N o. 2 5 1. T h e first n oti c e a bl e a n d bi as e d err or is t h e

                    C o urt’s ass erti o n at p a g e 2 t h at: “t h e g o v er n m e nt all e g es s h e li e d a b o ut D ull

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                    K nif e n ot b ei n g pr es e nt at his r esi d e n c e o n A u g ust 5 a n d t h at n o s h o oti n g h a d

                    o c c urr e d o n t h e pr o p ert y o n t h at d at e . ”

               m)   M a gistr at e D uff y’s st at e m e nt is c o m pl et el y c o ntr a di ct e d b y t h e G o v er n m e nt i n its

                    R es p o ns e, D o c k et N o. 2 4 8, at p a g e 5 w h er e t h e G o v er n m e nt st at es: “ T h e

                    d ef e n d a nt is n ot all e g e d t o h a v e b e e n i n v ol v e d i n a n y w a y i n G e or g e D ull K nif e’s

                    s h o oti n g of C ar m e n B ur g e e a n d h er v e hi cl e o n A u g ust 5, 2 0 2 0. ”

               n)   Y et f urt h er e vi d e n c e e xists t h at t his s h o oti n g di d n ot o c c ur at t h e D ull K nif e

                    Pr o p ert y. O n We d n es d a y, S e pt e m b er 3 0, 2 0 2 0, t h e G o v er n m e nt a p p e ar e d at a

                    pr etri al h e ari n g i n 6: 2 0 -mj -0 0 2 4 3 -M K. D o c u m e nt 1 4 of t h at r e c or d is a r e p ort er’s

                    tr a ns cri pt of a h e ari n g b ef or e M a gistr at e J u d g e M ust af a K as u b h ai a n d w hi c h is

                    att a c h e d as D ef e n d a nt’s E x hi bit A t o t his pl e a di n g . At p a g e 9 a n d 1 0 t h e

                    f oll o wi n g e x c h a n g e t a k es pl a c e: A U S A H u y n h “ M y u n d erst a n di n g is t h e vi cti ms

                    w e nt t o Mr. D ull K nif e’s h o us e t o pi c k u p a c hi l d, a n d t h e m ot h er of t h at c hil d, t h e

                    vi cti m w as wit h his m ot h er i n t h e v e hi cl e. T h e y l eft b e c a us e t h e y w er e t ol d t h at

                    t h e p ers o n, t h e m ot h er of t h e c hil d, w as n ot r e a d y t o l e a v e a n d t o c o m e b a c k i n a n

                    h o ur, w hi c h t h e y w er e d oi n g. T h e n t h e d ef e n d a nt, i n a n ot h er v e hi cl e, h e w as n ot

                    i n t h e h o us e at t h e ti m e, c h as e d t h e m i n his v e hi cl e a n d fir e d m a n y r o u n ds. As

                    t h e y g ot cl os e t o t h e hi g h w a y, h e p us h e d t h e m u p i nt o a n ot h er l o c ati o n t o fir e

                    e v e n m or e r o u n ds. ” It is q uit e a p p ar e nt fr o m t his st at e m e nt b y t h e G o v e r n m e nt

                    t h at t h e y w er e w ell a w ar e b y S e pt e m b er 3 0, 2 0 2 0 t h at t h e s h o oti n g di d n ot o c c ur

                    at t h e D ull K nif e r esi d e n c e, w hi c h e x pl ai ns e x a ctl y w h y t h e D ef e n d a nt k n e w

                    n ot hi n g a b o ut it a n d is cl e ar e vi d e n c e of D ef e n d a nt’s i n n o c e n c e a n d t h at

                    M a gistr at e D uff y is c o m pl et el y wr o n g i n h er s u m m ar y of t h e c as e at l) a b o v e.

               o)   M a gistr at e D uff y cit es t h e f or m er c o -d ef e n d a nt’s e ntr y of g uilt y pl e a as if it is

                    s o m e h o w e vi d e n c e a g ai nst t h e D ef e n d a nt w h e n it is n ot. T h e D ef e n d a nt

                    a bs ol ut el y ass erts t h at s h e is i n n o c e nt i n t his c as e a n d h er f or m er c o -d ef e n d a nt’s

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                    i n v ol v e m e nt is c o m pl et el y irr el e v a nt a n d s e p ar at e fr o m t h e D ef e n d a nt’s ri g ht t o a

                    f air tri al. I n a d diti o n, th e G o v er n m e nt a c k n o wl e d g es t h at t his s h o oti n g t o o k pl a c e

                    at s o m e ot h er l o c ati o n, s e e n. a b o v e.

               p)   M a gistr at e J u d g e D uff y h as r ef us e d t o si g n a CJ A or d er f or tr a ns cri pt of t h e 2 3

                    mi n ut e i n p ers o n h e ari n g b e c a us e t h at tr a ns cri pt w o ul d s h o w t h at M a gistr at e

                    D uff y disr es p e ct e d t h e D ef e n d a nt, t al k e d o v er t h e D ef e n d a nt, a ut o m ati c all y

                    d e ni e d t h e D ef e n d a nt’s or al m oti o n a n d g e n er all y tr e at e d D ef e n d a nt i n a r a cist

                    a n d disr es p e ctf ul m a n n er. H a vi n g f or c e d D ef e n d a nt t o a p p e ar i n p ers o n, e v e n

                    t h o u g h D ef e n d a nt fil e d a n a p pr o pri at e m oti o n t o a p p e ar b y vi d e o, t h e h e ari n g

                    t h e n o nl y l ast e d 2 3 mi n ut es, m a ki n g it q uit e cl e ar t h at M a gistr at e D uff y is n ot

                    c o n c er n e d wit h u p h ol di n g D ef e n d a nt’s ri g hts.

               q)   G e n er all y s p e a ki n g, t h er e ar e m a n y a ut h oriti es t h at s u g g est t h at a pr o s e liti g a nt

                    s h o ul d b e gi v e n l atit u d e wit h c o m pl e x c o urt r ul es, li k e t h e l o c al r ul es. I nst e a d of

                    a p pl yi n g a n y l atit u d e, J u d g e D uff y us es t h os e r ul es a g ai nst t h e D ef e n d a nt, a n d

                    pr et e n ds s o m e h o w t h at a l o c al c o urt r ul e h as t h e s a m e a ut h orit y as Br a d y , t h e

                    F e d er al R ul es of Cri mi n al Pr o c e d ur e, t h e U nit e d St at es C o nstit uti o n, or t h e

                    C o m m o n L a w of t h e U nit e d St at es. T h e D ef e n d a nt h as m a d e a g o o d f ait h eff ort

                    t o r es ol v e t h es e iss u es wit h t h e G o v er n m e nt, b ut t h e G o v er n m e nt, a n d t h e C o urt,

                    k e e ps l yi n g a b o ut t h e r e c or d of t h e c as e.

               r)   T h e D ef e n d a nt’s ri g ht t o a c c ess a n d t est t h e s p e nt b ull et is g o v er n e d b y t h e

                    F e d er al R ul es of Cri mi n al Pr o c e d u r e, R ul e 1 6: “ P urs u a nt t o F e d. R. Cri m. Pr o.

                    16:

                                “ th e g o v er n m e nt m ust p er mit t h e d ef e n d a nt t o i ns p e ct a n d . . .

                                p h ot o gr a p h . . .t a n gi bl e o bj e cts . . . if t h e it e m is wit hi n t h e g o v er n m e nt’s

                                p oss essi o n, c ust o d y, or c o ntr ol a n d: (i) t h e it e m is m at eri al t o pr e p ari n g

                                t h e d ef e ns e; …

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                    T his r e q uir es t h e G o v er n m e nt t o t ur n o v er t o t h e d ef e ns e e vi d e n c e m at eri al t o t h e

                    c h ar g es at iss u e . T his is r e q uir e d b y c as e l a w s u c h as Y at es v. U nit e d St at es , 5 7 4

                    U. S. 5 2 8, 5 3 9 ( 2 0 1 5) w hi c h u p h ol ds a n e x p a nsi v e r e a di n g of t h e m e a ni n g of

                    t a n gi bl e o bj e cts as us e d i n R ul e 1 6.

               s)   It is u n c o ntr o v ert e d t h at t h e G o v er n m e nt ass ert e d t o t h e C o urt t h at t h e w e a p o n

                    us e d i n t his c as e w as a n A R 1 5 rifl e. T h at li e w as pr es e nt e d t o t h e C o urt i n or d er

                    t o s u p p ort t h e iss u a n c e of a s e ar c h w arr a nt a n d arr est w arr a nts. It w as li k el y als o

                    pr es e nt e d t o t h e Gr a n d J ur y i n t his c as e e v e n t h o u g h t h e G o v er n m e nt k n e w at all

                    m at eri al ti m es t h at t his w as f als e. M a gistr at e D uff y c a n n ot t h er ef or e e nt er a

                    fi n di n g t h at t his is irr el e v a nt t o D ef e n d a nt’s c as e.

               t)   T h e s p e nt b ull et is b ot h r el e v a nt t o t h e c as e, r el e v a nt t o M oti o ns t o D is miss,

                    M oti o ns t o S u p pr ess, M oti o ns r el ati n g t o O utr a g e o us G o v er n m e nt Mis c o n d u ct

                    a n d O utr a g e o us C o urt C o n d u ct a n d i n li mi n e tri al M oti o ns t h at t h e D ef e n d a nt

                    wis h es t o fil e . It is also r el e v a nt t o dir e ctl y r e b ut t h e st at e m e nt of I a n D ull K nif e,

                    a j ail h o us e i nf or m a nt a n d G o v er n m e nt wit n ess .

               u)   M a gistr at e D uff y d o es n ot h a v e t h e a ut h orit y t o pr e cl u d e t esti n g t h at h as alr e a d y

                    b e e n a ut h ori z e d b y Distri ct C o urt J u d g e S c hr ei er a n d J u d g e L a v e ns ki S mit h, t h e

                    C hi ef J u d g e of t h e Ei g ht h Cir c uit C o urt of A p p e als. D ef e n d a nt s u b mitt e d h er

                    M oti o n f or E x p ert F u n ds vi a t h e C o urt Cl er k o n J u n e 1 4, 2 0 2 3, t o g et h er wit h a

                    d e cl ar ati o n fr o m d ef e ns e e x p ert, J o h n Ni x o n. T h at M oti o n e x c e e d e d t h e Distri ct

                    C o urt m a x i m u m, s o D ef e n d a nt fil e d a n a d diti o n al e-v o u c h er vi a t h e Cl er k’s

                    offi c e als o o n J u n e 1 4, 2 0 2 3 . O n J u n e 1 5, 2 0 2 3, Distri ct C o urt J u d g e S hr ei er

                    a p pr o v e d D ef e n d a nt’s m oti o n a n d it w as s u b mitt e d f or Ei g ht h Cir c uit r e vi e w a n d

                    a p pr o v al . T h at a p pr o v al w as r e c ei v e d o n J u n e 2 6, 2 0 2 3. T h e r e c or d of t h es e

                    e m ail s u b missi o ns t o t h e C o urt a n d c orr es p o n d e n c e a b o ut t his ar e att a c h e d t o t his

                    M oti o n as E x hi bit B. W h e n J u d g e L a v e ns ki S mit h si g n e d t h e CJ A Or d er o n J u n e

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                                 2 3, 2 0 2 3, D ef e n d a nt’s M oti o n w as gr a nt e d a n d it r e q uir e d t his C o urt t o c o m pl y

                                 wit h t h e f oll o wi n g M oti o n f or “ a n Or d er dir e cti n g t h e G o v er n m e nt t o pr o vi d e

                                 Mr. Ni x o n n e c ess ar y a c c ess t o all dis c o v er y a n d p h ysi c al e vi d e n c e n e c ess ar y f or

                                 n o n -d estr u cti v e t esti n g of t h e s p e nt b ull et. ” T h us, t h e D ef e n d a nt’s M oti o n f or

                                 E x p ert F u n ds h as alr e a d y b e e n gr a nt e d a n d M a gistr at e D uff y a n d t his H o n or a bl e

                                 C o urt ar e r e q uir e d t o c o m pl y wit h J u d g e L a v e ns ki R. S mit h’s e xisti n g or d er .

                           v)    M a gistr at e D uff y i g n or es t h e cl e ar iss u es wit h c orr u pt f or m er CI P u c k ett .

                                 Alt h o u g h t h e M a gistr at e a c c e pts t h at P u c k ett is n o l o n g er a n offi c er si n c e t h at i s

                                 u nr e b utt e d b y t h e G o v er n m e nt, s h e i g n or es t h e a d diti o n al i nf or m ati o n pr o vi d e d

                                 b y t h e D ef e n d a nt, t h at s h e w as t ol d t h at P u c k ett w as fir e d f or mis c o n d u ct, w hi c h

                                 is c or e Br a d y i nf or m ati o n. M a gistr at e D uff y als o i g n or e d t h e D u e Pr o c ess

                                 Pr ot e cti o ns A ct a n d its a p pli c ati o n t o t his c as e . T h e r e p e at e d w ar ni n g s pr o vi d e d

                                 i n t h e r e c or d of t his c as e is t h at t h e G o v er n m e nt is r e q uir e d t o pr o vi d e “ti m el y ”

                                 Br a d y dis cl os ur es, b ut t his C o urt f e els t h at dis cl os ur e of t h e o b vi o us c orr u pti o n at

                                 w or k i n t his c as e is “ti m el y ” s o m e t hr e e y e ars aft er t h e c as e b e g a n. S u c h

                                 dis cl os ur e is n ot ti m el y wit hi n a n y r e as o n a bl e d efi niti o n of t h at w or d.

   3.    T h e D ef e n d a nt is e ntitl e d t o D e N o v o r e vi e w of D ef e n d a nt’s M oti o n t o C o m p el, D o c k et N o.’s

         2 4 0 a n d 2 4 7. M a gistr at e D uff y s h o ul d r e c us e h ers elf fr o m a n y f urt h er c o nsi d er ati o n of t h e

         D ef e n d a nt’s c as e b e c a us e t h e r e c or d d e m o nstr at es a r a cist bi as a n d a ni m us t o w ar ds t h e D ef e n d a nt

         t h at is n ot c o nsist e nt wit h h er o bli g ati o n t o b e a ne utr al ar bit er of t h e l a w a n d f a ct u al dis p ut es

         i n v ol v e d i n t his c as e.

   W H E R E F O R E D ef e n d a nt r es p e ctf ull y A p p e als M a gistr at e D uff y’s Or d er D o c k et N o. 2 5 1 a n d pr a ys

   t his H o n or a bl e C o urt f or its Or d er t o C o m p el F e d. R. Cri m. Pr o. 1 6. Dis c o v er y, ti m el y Br a d y, a n d

   Gi gli o Dis cl os ur e a n d f or A d diti o n al R eli ef as d et ail e d i n t h e b o d y of t his M oti o n .

   D at e d t his 2 n d d a y of A u g ust 2 0 2 3

   R es p e ctf ull y,

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   /s/ Ki m b erl e e Pit a w a n a k w at

   Ki m b erl e e Pit a w a n a k w at
   2 6 2 1 4 F ost er R o a d
   M o nr o e, O R 9 7 4 5 6
   ki m b erl e e. pit a n k wt @ g m ail. c o m

   c c: H e at h er S a z a m a, Assist a nt U nit e d St at es Att or n e y, Distri ct of S o ut h D a k ot a, vi a e m ail:
   H e at h er. S a z a m a @ us d oj. g o v




                                                            P a g e 1 0 of 1 0
